BO BRO BRO eae SE eal

ase 8:16-ap-01114-ES Doc30 Filed 10/27/16 Entered 10/27/16 15:25:47 Desc
Main Document Pagel1of5

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949) |

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

Fax: (949) 531-6501

ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No, 8:16-bk-10223-ES

Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter CO
Consulting, dba Law Offices of Kent W. _| PLAINTIFFS’ RESPONSES TO

Easter DEFENDANT’S EVIDENTIARY
OBJECTIONS
Date: November 10, 2016 |
Kelli Peters, Bill Peters and Sydnie Peters, Time: 10:30 a.m.

Department: 5A
Plaintiffs,

VS.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

1

PLAINTIFFS’ RESPONSES TO DEFENDANT’S EVIDENTIARY OBJECTIONS

Oo Oo WA wW F&F WwW NH

NN WN NN KN ESE FS S| SPS Pll Sell Reel el

ASe 8:16-ap-01114-ES Doc30 Filed 10/27/16 Entered 10/27/16 15:25:47 Desc
Main Document Page 2of5

I, INTRODUCTION.

Defendant objects to certain evidence presented by Plaintiffs Kelli Peters, Bill Peters
and Sydnie Peters in support of their Motion for Summary Judgment on their “Complaint to
Determine Nondischargeability of Debt” (the “Complaint”) against Defendant Kent Easter
(“Easter” or “Defendant”). Specifically, Defendant objected to the following paragraphs
and exhibits to the Declaration of Robert H. Marcereau: 4, {7, (8, 9 and exhibit nos. 4, 5
and 6. Defendant’s objections are without merit and should be overruled.

I DEFENDANT’S OBJECTIONS ARE WITHOUT MERIT AND SHOULD BE
OVERRULED.
a. Best Evidence Rule Is Inapplicable Here.

Defendant objects to the Declaration of Marcereau by citing the FRE 1002, the “Best
Evidence Rule.” Such an objection is completely misplaced in this instance. The Best
Evidence Rule provides that, in order to prove the contents of a writing or photograph, the
writing itself is usually required. This has no bearing here.

Plaintiff is not seeking to prove the contents of a writing. Rather, the Declaration
paragraphs at issue are regarding the convictions of the Defendants, and Defendants’
admissions of their illegal acts. The outcomes of the state court actions were witnessed by
Marcereau, and indeed they are a matter of public record. As to Defendants’ admissions,

the Declaration specifically states, “Kent Easter admitted these facts in my presence.”

(Marcereau Decl. 4, emphasis added.) These declaration paragraphs at issue have nothing
to do with the contents of “writing, recording, or photograph.” As to Declaration paragraph
8, regarding the stipulation of Defendants, the contents are cited verbatim, and the ©
stipulation itself is attached as exhibit. The exhibit is admissible pursuant to FRE 1002 and
1003.

The Best Evidence Rule has no applicability to the declaration paragraphs at issue
here. Accordingly, Defendant’s objections to J] 4, 7 and 8 of the Declaration of Marcereau

on this ground should be overruled.

2

PLAINTIFFS’ RESPONSES TO DEFENDANT’S EVIDENTIARY OBJECTIONS

oOo oF SI DB CA F&F WY He

bo NM NO ON NY NY eS S| FS eS S| SO Sl lc S| lc

base 8:16-ap-01114-ES Doc30 Filed 10/27/16 Entered 10/27/16 15:25:47 Desc

Main Document Page3of5

b. Personal Knowledge Requirement Met.

All objections based on Federal Rule of Evidence 602 are misplaced. “A witness
may testify to a matter only if evidence is introduced sufficient to support a finding that the
witness has personal knowledge of the matter.” (FRE 602). Marcereau’s declaration sets
forth his view of the facts based on his personal knowledge, including Kent Easter’s
admission of these facts directly to Marcereau.

Defendant’s objections to 97, and 99 of the Declaration of Robert H. Marcereau
based on FRE 602 should be overruled in each instance.

c. Trial Testimony by Declarants and a Party Opponent Are Non-Hearsay.

Hearsay is a “statement, other than one made by the declarant while testifying at the

trial or hearing, offered in evidence to prove the truth of the matter asserted.”
(FRE 801(c), emphasis added.) .

Defendant objects to excerpts of Kelli Peters, Officer Charles Shaver and Kent
Easter’s trial testimony, in their entirety. The testimony does not qualify as hearsay, as the
evidence consists of each declarant’s own statements at trial. In other words, the statements
contained in the excerpts are from the declarants themselves (Peters, Officer Shaver and
Easter). Therefore, by definition the statements are not hearsay because they were made in

court by the declarants. Whereas hearsay is a statement made by one other than the

declarant.
Defendant does not reference which portions of the testimony, if any, are allegedly

made by someone other than the declarants.

Additionally, Kent Easter’s trial testimony is an admission by a party opponent and
therefore is non-hearsay. An admission by a party opponent is non-hearsay (FRE 801(d).)
Plaintiff's objections to exhibit nos. 4-6 are improper and should be overruled.
d. No Prejudice Suffered by Defendant.
Defendant also objects to exhibit nos. 4-6 — excerpts of trial testimony - on the
grounds that they violate FRE 403 due to unfair prejudice for “offering incomplete records.”

This objection is without merit.

3
PLAINTIFFS’ RESPONSES TO DEFENDANT’S EVIDENTIARY OBJECTIONS

Co 6 ~sS BDA wr FF WH WV

NM NM ON OR ON OS S| PO iS S| eS Ol S| lc Slr ll

pase 8:16-ap-01114-ES Doc30 Filed 10/27/16 Entered 10/27/16 15:25:47 Desc

Main Document Page4of5

The court may exclude relevant evidence if its probative value is substantially
outweighed by a danger of one or more of the following: unfair prejudice, confusing the
issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative
evidence. (FRE 403.) . Defendant fails to make a single argument setting forth why he has
been prejudiced by this. He has access to all of the trial testimony referenced, as he was
actively involved in all stages of the civil trial.

Here, only pertinent portions of witness trial testimony were filed in support of
Plaintiffs’ Motion in order to highlight the relevant testimony, streamline Plaintiffs exhibits
and to avoid wasting the court’s time in sifting through hundreds of pages of non-relevant
trial testimony.

Defendant’s FRE 403 objections are without merit. Accordingly, any objections
based on prejudice as to these exhibits are improper and should be overruled.

II. CONCLUSION.

For the reasons set forth above, Plaintiff respectfully requests that the Court overrule
Defendant’s evidentiary objections to Robert H. Marcereau’s Declaration submitted in
support of Plaintiffs’ Motion for Summary Judgment on their “Complaint to Determine

Nondischargeability of Debt” against Defendant Kent Easter.

Dated: October 26, 2016 MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

4
PLAINTIFFS’ RESPONSES TO DEFENDANT’S EVIDENTIARY OBJECTIONS

Case 8:16-ap-01114-ES Doc30 Filed 10/27/16 Entered 10/27/16 15:25:47 Desc
Main Document Page5of5

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): PLAINTIFFS’ RESPONSES TO DEFENDANT’S
EVIDENTIARY OBJECTIONS will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/27/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to recelve NEF transmission at the email addresses stated below:

United States Trustee: ustpregion16.sa.ecf@usdoj.qov
Trustee, Weneta M Kosmala: ecf.alert+Kosmala@titlexl.com
Attorney for Debtor/Defendant: kmurphy@qoeforlaw.com

L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/27/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or

adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,

postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the Judge will will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Trustee:

Kent W Easter Robert P Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
CL] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 10/27/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Ctrm 5A, Santa Ana,
CA 92701-4593

] Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/27/2016 Nicole Lipowski ‘si Nicole Lipowski
Date Printed Name - Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Caiifornia.

June 2012 F 9013-3.1.PROOF.SERVICE
